       Case 4:20-cr-06032-SMJ     ECF No. 64   filed 10/12/21   PageID.187 Page 1 of 2




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 2                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON


 3                                                                 Oct 12, 2021
                                                                       SEAN F. MCAVOY, CLERK
 4

 5                        UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                      No. 4:20-cr-06032-SMJ-1

 8                       Plaintiff,                 ORDER GRANTING
                                                    DEFENDANT’S MOTION TO
 9   vs.                                            MODIFY CONDITIONS OF
                                                    RELEASE AND MOTION TO
10   DIEGO AVILA GARCIA,                            EXPEDITE

11                       Defendant.                 ECF Nos. 61, 62

12          Before the Court is Defendant’s Motion to Modify Conditions of Release

13   (ECF No. 61) and related Motion to Expedite (ECF No. 62). Neither the United

14   States nor the United States Probation/Pretrial Services Office oppose the proposed

15   modification. Defendant requests that the Court terminate Special Condition

16   No. 9, which imposes a requirement that Defendant participate in a program of

17   GPS location monitoring (ECF No. 27). Defendant also requests that the Court

18   terminate Special Condition No. 10, which imposes a condition of home detention.

19   (ECF No. 27). In support of this modification, Defendant cites his success on

20   pretrial release.


     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 1
      Case 4:20-cr-06032-SMJ   ECF No. 64    filed 10/12/21   PageID.188 Page 2 of 2




 1       For the reasons set forth in the Motion;

 2       IT IS ORDERED:

 3       1.    Defendant’s Motion to Expedite (ECF No. 62) is GRANTED.

 4       2.    Defendant’s Motion to Modify Conditions of Release (ECF No. 61) is

 5   GRANTED.

 6       3.    Special Condition No. 9 (ECF No. 27) shall be TERMINATED.

 7       4.    Special Condition No. 10 (ECF No. 27) shall be TERMINATED.

 8       5.    All other conditions of release shall remain in effect.

 9       DATED October 12, 2021.

10                             s/Mary K. Dimke
                               MARY K. DIMKE
11                    UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE - 2
